          Case 16-05546-RLM-13                  Doc 14      Filed 08/10/16         EOD 08/10/16 12:12:45                     Pg 1 of 6

Fill in this information to identify the case

Debtor 1 Kevin Leon Lollar

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: SOUTHERN District of INDIANA
                                                                             (State)
Case number 16-05546


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor              Nationstar Mortgage LLC                                  Court claim no. (if known)            N/A
                                                                                       Date of payment change
Last four digits of any number                                                         Must be at least 21 days after date of      9/1/2016
you use to identify the debtor's                                                       this notice
account:                               2084
                                                                                       New total payment:
                                                                                       Principal, interest, and escrow, if any     $309.23
Part 1:           Escrow Account Payment Adjustment
  1.   Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $                                New escrow payment:          $

Part 2:           Mortgage Payment Adjustment
  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:     3.125%    New interest rate:   3.5%

           Current principal and interest payment: $68.64     New principal and interest payment: $70.87

Part 3:           Other Payment Change




16-019396_KDV
        Case 16-05546-RLM-13               Doc 14       Filed 08/10/16        EOD 08/10/16 12:12:45            Pg 2 of 6

 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect)

         Reason for change:

         Current mortgage payment: $                                   New mortgage payment: $




16-019396_KDV
            Case 16-05546-RLM-13                      Doc 14      Filed 08/10/16         EOD 08/10/16 12:12:45     Pg 3 of 6
Debtor 1          Kevin Leon Lollar                                         Case number (if known) 16-05546
            First Name                      Middle Name        Last Name




Part 4:              Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X                /s/ Sarah E. Willms                                           Date    August 10, 2016
      Signature

  Print:                  Sarah E. Willms (28840-64)                             Title    Attorneys for Creditor

  Company                 Manley Deas Kochalski LLC

  Address                 P.O. Box 165028
                         Number             Street

                          Columbus, OH 43216-5028
                         City                        State       ZIP Code

  Contact phone            614-220-5611                                          Email     sew@manleydeas.com




16-019396_KDV
Case 16-05546-RLM-13          Doc 14     Filed 08/10/16     EOD 08/10/16 12:12:45       Pg 4 of 6



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Payment Change

was served on the parties listed below via e-mail notification:

   U.S. Trustee, 101 W. Ohio St.. Ste. 1000, Indianapolis, IN 46204, 317-226-6101

   Ann M. DeLaney, P.O. Box 441285, Indianapolis, IN 46244, ECFdelaney@trustee13.com

   Brent Welke, Attorney for Kevin Leon Lollar, Welke Law Office, P.O. Box 55058,
   Indianapolis, IN 46205, brentwelke@att.net


                                                                                 10 2016:
and on the below listed parties by regular U.S. mail, postage prepaid on August ___,

   Kevin Leon Lollar, 6525 W 16th St, Indianapolis, IN 46214

   Kevin Leon Lollar, 6525 West 16th Street, Indianapolis, IN 46214



                                                                  /s/ Sarah E. Willms




16-019396_KDV
Case 16-05546-RLM-13   Doc 14   Filed 08/10/16   EOD 08/10/16 12:12:45   Pg 5 of 6
(Page 2 of 2) Case   16-05546-RLM-13   Doc 14   Filed 08/10/16   EOD 08/10/16 12:12:45   Pg 6 of 6
